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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED SPECIALTY INSURANCE CO.,           CV 20-11481 PA (PDx)
12               Plaintiff,                    JUDGMENT
13         v.
14   AKRAM AKBARNEJAD, et al.
15               Defendants.
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18         Pursuant to the Court’s May 4, 2021 Order, IT IS HEREBY ORDERED,
19   ADJUDGED, AND DECREED that this action is dismissed without prejudice.
20         IT IS SO ORDERED.
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22   DATED: May 4, 2021                         _________________________________
                                                           Percy Anderson
23                                                UNITED STATES DISTRICT JUDGE
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